Case:18-05288-ESL11 Doc#:115 Filed:02/25/19 Entered:02/25/19 10:12:07       Desc: Main
                            Document Page 1 of 1


                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO


  IN RE:                                   CASE NO. 18-05288-ESL11
   SKYTEC INC                              Chapter 11




  XX-XXXXXXX


                    Debtor                       FILED & ENTERED ON FEB/25/2019



                                         ORDER


           The application for allowance of compensation filed by       CPA Luis R.

  Carrasquillo & Co., P.S.C. in the amount of $14,694.96 in fees and $75.20 in

  expenses (Docket Entry #103), having been duly notified to all parties in

  interest, and no timely replies or objections having been filed, it is now


           ORDERED that said motion be and is hereby granted.


           In San Juan, Puerto Rico, this 25 day of February, 2019.
